825 F.2d 408Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Richard Lowell STRATTON, Petitioner-Appellant,v.O. I. WHITE, Respondent-Appellee.
    No. 87-7117
    United States Court of Appeals, Fourth Circuit.
    Submitted June 30, 1987.Decided July 31, 1987.
    
      Richard Lowell Stratton, appellant pro se.
      Michael A. Humphreys, Office of the United States Attorney, for appellee.
      Before WIDENER and SPROUSE, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2241 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Stratton v. White, C/A No. 86-262-AM (E.D. Va., Mar. 31, 1987).
    
    
      2
      AFFIRMED.
    
    